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                            UNITED STATES DISTRICT COURT                   DP
                            MIDDLE DISTRICT OF TENNESSEE                   
                               NORTHEASTERN DIVISION
                                                                           
UNITED STATES OF AMERICA                     )
                                             )       No. 2:11-cr-0003
v.                                           )       Judge Sharp
                                             )
JOSHUA EDWARD CALDWELL                       )


                   MOTION TO CONTINUE SENTENCING HEARING

       Comes now the defendant, Joshua Edward Caldwell, by and through his counsel of

record, David R. Heroux, and herein moves this Honorable Court to continue the defendant’s

Sentencing Hearing currently set for May 19, 2014. The defendant would request a Sentencing

Hearing be set for 9:00 a.m. on May 22, 2014. The defendant has been authorized to advise the

Court that the United States agrees to this continuance. As grounds for this motion, the

defendant has filed an Affidavit of Counsel filed under seal.

                                                     Respectfully submitted,

                                                     Haymaker & Heroux, P.C.

                                                     S:/ David R. Heroux
                                                     David R. Heroux
                                                     943 Main Street
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